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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov

In re :                                                                     Case Number 6:19-bk-05570-CCJ
                                                                            Chapter 7
Ilia A. Schulz,
                             Debtor(s).
______________________________________/

    TRUSTEE’S RESPONSE TO NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER’S
   MOTION FOR RELIEF FROM AUTOMATIC STAY TO ENFORCE FINAL JUDGMENT OF
                         FORECLOSURE OBTAINED

          COMES NOW Emerson C. Noble, the duly appointed Trustee in this Chapter 7 case, by and through
her undersigned counsel, and responds to Nationstar Mortgage LLC d/b/a Mr. Cooper’s Motion for Relief
from Automatic Stay to Enforce Final Judgment of Foreclosure Obtained, dated September 16, 2019, (docket
no. 11) in regard to the residential real estate located in Orange County, Florida, (“Property), more particularly
described below, and states as follows :
          Lot 37, Block A, RESERVE AT BELMERE, according to the plat thereof as recorded in Plat
          Book 48, Pages 23 through 31, inclusive, of the Public Records of Orange County, Florida.

          a/k/a 1516 Glenwick Dr., Windermere, FL 34786
          Parcel ID No. 06-23-28-7326-01-370

    1. Trustee will be seeking Court approval to employ BK Global Real Estate Services and EXP Realty
          LLC to market and conduct a short sale of the real property described above.
    2. Trustee hereby requests 180 days to sell the Property for the benefit of creditors and Nationstar
          Mortgage LLC d/b/a Mr. Cooper.


    WHEREFORE, Trustee prays that she be granted 180 days to sell the Property for the benefit of creditors
of this case and for all other relief as is just and proper.
    Respectfully submitted this 21st day of October, 2019.

                                                     /s/ Kristen L. Henkel
                                                     Kristen L. Henkel, Esq.
                                                     Florida Bar No. 81858
                                                     M. E. Henkel, P.A.
                                                     3560 South Magnolia Avenue
                                                     Orlando, Florida 32806
                                                     Telephone : (407) 438-6738
                                                     Facsimile : (407) 858-9466
                                                     khenkel@mehenkel.com



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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was provided by United States Mail, postage
prepaid, or by electronic delivery to : United States Trustee, 400 W. Washington St., Suite 1100, Orlando,
Florida 32801; Ilia A. Schulz, 1516 Glenwick Dr., Windermere, FL 34786, Debtor(s); Robert H. Pflueger,
Robert H. Pflueger, P.A., 377 Maitland Avenue, Suite 1002, Altamonte Springs, FL 32701, Debtor(s)’
Attorney, ReShaundra M. Suggs, Esquire, Choice Legal Group, P.A., P. O. Box 771270, Coral Springs, FL
33077, Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper; on October 21, 2019.

                                               /s/ Kristen L. Henkel
                                               Kristen L. Henkel, Esq.




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